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                                          January 7,2021



Via ECF
Honorable Mary Kay Vyskocil
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007-1312


        Re:     Index No. 20-04008(MKV)
                AN Frieda Diamonds,Inc. v. Roni Rubinov and New Liberty Pawn Shop, Inc.


Dear Judge Vyskocil:

       Upon request of Chambers,I file this statement pursuant to F.R.B.P 8019 requesting that
the above referenced appeal be decided on the papers as submitted without oral argument
because the facts and legal arguments are adequately presented in the briefs and record, and the
decisional process would not be significantly aided by oral argument. I have conferred with Leo
Fox, Esq., attorney for respondent, who consents to proceeding without oral argument so long as
it is acceptable to the court.

        Additionally, upon request of my client, I respectfully reiterate my client's request for
expeditious review.

        Thank you very much for your consideration.


Very truly yours




Akiva Shapiro, Esq.



cc. Leo Fox, Esq. via ECF
